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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Joseph Berti,                       CHAPTER 13
         Debtor.
 ____________________________________       BANKRUPTCY CASE NUMBER
 Nationstar Mortgage LLC,                   16-11046/MDC
         Movant,
 v.                                         11 U.S.C. § 362
 Joseph Berti,
         Debtor,

 William C. Miller, Trustee,
  Additional Respondent.
                                            ORDER

        AND NOW, this ______4th               May
                                   day of ______________,     2020, after notice to all required
parties and certification of default under the terms of this Court’s Order of April 12, 2019 it is

        ORDERED AND DECREED that the Automatic Stay of all proceedings, as provided
under Section 362 of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005
(the "Code"), 11 U.S.C. § 362, is lifted to allow Movant, or its successors, if any, to proceed
with, or to resume proceedings in Mortgage Foreclosure, including, but not limited to Sheriff's or
Marshal's Sale of 3249 Princeton Avenue, Philadelphia, PA 19149; and to take action, by suit or
otherwise as permitted by law, in its own name or the names of its assignee, to obtain possession
of said premises; and it is

       FURTHER ORDERED that Rule 4001(a)(3) is not applicable and Movant, or its
successors, if any, may immediately implement this order.


                                              BY THE COURT:


                                              ___________________________________
                                              MAGDELINE D. COLEMAN
                                              CHIEF U.S. BANKRUPTCY JUDGE
